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                               United States District Court
                                Western District of Texas
                                     Waco Division

Profectus Technology LLC,

              Plaintiff

v.                                                Case No. 6:20-cv-00101-ADA

Google LLC,

              Defendant




                            Joint Claim Construction Statement
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       Per the Court’s Scheduling Order, the Parties, Profectus Technology LLC and Google LLC, submit this Joint Claim Construc-

tion Statement. The sole asserted patent is U.S. Patent No. 6,975,308.



                                                        Agreed Constructions

                Claim Term                                                   Agreed Construction

“stand alone”                                independently satisfying each of the claimed features

Claims 1, 22, 29


“mountable”                                  having a feature for mounting

Claims 1, 6, 22, 29


“picture frame”                              a unit used to replace a conventional picture frame

Claims 1, 6, 7, 8, 22, 29


“portable memory device”                     external storage media

Claims 5, 24




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                                                         Disputed Terms


Claim Term (Party Propos-            Profectus’s Proposed Con-        Google’s Proposed Con-      Court's Construction
ing)                                 struction                        struction

   “control circuitry”                  Plain and ordinary                Means-plus-function
   (Google)                             meaning. Not a                    term subject to
                                        means-plus-function               § 112, ¶ 6.
   Claims 1, 3, 22, 29                  term.
                                                                          Indefinite.


   “interface” (Google)                 Plain and ordinary                “a shared electrical
                                        meaning.                          boundary between
   Claims 1, 4, 5, 22,                                                    parts of a computer
   23, 24, 29                           Not limited to a wired            system, through
                                        "interface"                       which information is
                                                                          conveyed”

                                                                          OR

                                                                          “The circuitry that
                                                                          interconnects and
                                                                          provides compatibil-
                                                                          ity between a central
                                                                          processor and pe-
                                                                          ripherals in a com-
                                                                          puter system.”




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Claim Term (Party Propos-            Profectus’s Proposed Con-   Google’s Proposed Con-     Court's Construction
ing)                                 struction                   struction

   “activating the dis-                 “switching the display      “turning on the dis-
   play screen” (Both                   screen from a screen        play screen”
   parties)                             saver or power down
                                        mode”
   Claims 1, 22


   “chang[es/ing]     an                “altering or replacing      “switching the still
   image      displayed”                an image displayed”         image on the display
   (Both parties)                                                   screen to a different
                                                                    still image”
   Claims 3, 22, 29




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December 9, 2020                             Respectfully submitted,


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                                     Certificate of Service

       The undersigned certifies this document was filed electronically in compliance with Lo-

cal Rule CV-5. As such, it was served on all counsel of record on December 9, 2020.


                                                   /s/ Daniel C. Callaway
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Joint Claim Construction Statement
